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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

CHRISTINE LUCERO, as Next Friend
to DAN LUCERO

                             Plaintiff,

v.                                                             No. 2:19-cv-00445-KWR-KRS

CITY OF CLOVIS POLICE DEPARTMENT et al.,

                             Defendants.

                            ORDER REFERRING JOINT
                         MOTION TO APPROVE SETTLEMENT

       PURSUANT to the provisions of 28 U.S.C. Sections 636(b)(1)(A) and Rule 72(a) of the

Federal Rules of Civil Procedure, MAGISTRATE JUDGE KEVIN R. SWEAZEA is hereby

designated to hear and determine the Joint Motion to Approve Settlement [Doc. 155] filed on

October 7, 2021.

       IT IS SO ORDERED.


                                                   _________________________________
                                                   KEA W. RIGGS
                                                   UNITED STATES DISTRICT JUDGE
